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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

 CARROLL INDEPENDENT SCHOOL
 DISTRICT,

            Plaintiff,                         Case No. 4:24-cv-00461-O

       v.

 UNITED STATES DEPARTMENT OF
 EDUCATION; ET AL.,

             Defendants.

     PLAINTIFF CARROLL INDEPENDENT SCHOOL DISTRICT’S
   RESPONSE TO DEFENDANTS’ FIRST NOTICE OF SUPPLEMENTAL
                        AUTHORITY
      Defendants’ Notice of Supplemental Authority (ECF No. 53) doesn’t help

them for two reasons and in fact supports this Court granting a § 705 stay.

      First, this Court has already correctly determined that Defendants’ “novel

standard for unlawful sex-based harassment,” “a recipient’s liability for sex

discrimination” on the basis of gender identity and the related de minimis harm

provision (including 34 C.F.R. §§ 106.10, 106.31(a)(2)), the self-initiated grievance

process, and the gag-order requirement are likely unlawful. ECF No. 43 at 14; see

also Texas v. Cardona, --- F. Supp. 3d ----, 2024 WL 2947022, at *29 (N.D. Tex. June

11, 2024). Defendants do not ask this Court to reconsider that holding.

      Second, the Alabama court placed the burden to show severability on the

plaintiffs, ECF No. 53-1 at 30, but the Fifth Circuit requires Defendants to show

severability, see Louisiana v. U.S. Dep’t of Educ., no. 24-30399, 2024 WL 3452887,

at *2 (5th Cir. July 17, 2024). In Louisiana, the Fifth Circuit denied the

government’s motion to stay an injunction against the Rule because its severability
argument put the court “in an untenable position.” Id. The government had not



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provided the district court “briefing or argument” on how to sever the Rule, which

would force the court “to parse the 423-page Rule” itself. Id.; accord id. (severability

analysis requires the court to determine “whether the regulation would have been

enacted in the absence of the challenged provisions”). Carroll ISD challenged

Defendants’ “gender-identity mandate,” ECF No. 15 at 3, which the Fifth Circuit

recognized is the Rule’s “heart,” Louisiana, 2024 WL 3452887, at *1. At this late

stage—with only one day before the Rule becomes effective—preserving the status

quo requires staying the Rule as a whole to avoid “making predictions … about the

interrelated effects of the remainder of the Rule” and to avoid imposing “double” the

“implementation and compliance costs.” ECF No. 49 at 17–18 (quoting Louisiana,

2024 WL 3452887, at *2).

      The Alabama decision means that the Rule currently will go into effect in

Florida and Georgia tomorrow. See ECF No. 53-1 at 6. In the upcoming school year,

Carroll ISD students will travel to both states for debate tournaments and use

restrooms in those states. MPI App.476 (ECF No. 37). Without a stay of the Rule,

those students will run the risk of encountering persons of the opposite sex in those

private spaces. ECF No. 49 at 13–14. And so will other Carroll ISD students

traveling to states like Oregon and California. MPI App.476. To avoid that
irreparable injury, this Court should stay the Rule in its entirety. See Fed’n of Ams.

for Consumer Choice, Inc. v. U.S. Dep’t of Lab., No. 6:24-CV-163-JDK, 2024 WL

3554879, at *17 (E.D. Tex. July 25, 2024) (declining to limit § 705 stay to the parties

because the agency action was “likely unlawful as to Plaintiffs” and thus “likely

unlawful as to all other similarly situated” persons and because the agency

promulgated the rule to “establish a uniform definition for all persons giving

investment advice”).




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Respectfully submitted this 31st day of July 2024.

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                        CERTIFICATE OF SERVICE

      I certify that on July 31, 2024, this document was served on all counsel of

record via the Court’s CM/ECF system.
                                     /s/ Mathew W. Hoffmann
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